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18                               UNITED STATES DISTRICT COURT
19
                                     DISTRICT OF NEVADA
20
     DELANIE BUTLER and JOHN ROBINSON,
21   Individually and on behalf of all similarly     Case No. 2:20-cv-00861-JCM-EJY
     situated class and collective action members,
22
                   Plaintiffs,                       STIPULATION AND ORDER TO
23          v.                                       SEVER AND TRANSFER VENUE
24   PORTFOLIO RECOVERY ASSOCIATES,
     LLC, a Delaware Limited Liability Company;
25   DOES I through X, inclusive; ROE
     CORPORATIONS I through X, inclusive,
26
                   Defendants.
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                     STIPULATION AND ORDER TO SEVER AND TRANSFER VENUE
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 1           NOW COMES Plaintiffs Delanie Butler and John Robinson (“Plaintiffs”) and Defendant

 2 Portfolio Recovery Associates, LLC (“Defendant” or “PRA”) and files this stipulation of severance

 3 of certain Wage and Hour claims as set forth herein, and to transfer such claims from this Court to

 4 the Eastern District of Virginia.

 5                        I.       Currently Pending Motion to Sever and Transfer
 6          On July 6, 2020, Defendant Portfolio Recovery Associates, LLC (“Defendant” or “PRA”)

 7 moved, pursuant to Federal Rule of Civil Procedure 21, to sever Plaintiff Butler’s federal and state

 8 wage and hour claims brought on behalf of Defendant’s hourly workers, on one hand (“the Wage

 9 and Hour Claims”), from Plaintiffs’ claim under the WARN Act and the wage and hour claims

10 brought on behalf of salaried employees, on the other (collectively, the “WARN Act Claims”); and,

11 pursuant to 29 U.S.C. § 1404(a), to transfer the Wage and Hour Claims on behalf of the hourly

12 employees, to the United States District Court for the Eastern District of Virginia, Norfolk Division

13 (“EDVA”). See ECF 13, Defendant’s Motion to Sever and Transfer Venue and Memorandum of

14 Points and Authorities in Support (“Motion to Sever and Transfer”). Prior to filing their consents

15 to opt into this case, Butler and 11 other Butler opt-ins were already opt-in plaintiffs in the

16 substantially similar case in the EDVA (namely, Scott v. Portfolio Recovery Associates, LLC, Civil

17 Action No. 2:20-CV-00267 (EDVA) (the “Virginia Action”). Id. at II.B.3.a., pp. 7-9.

18          In addition to this Butler lawsuit and the Virginia Action, another substantially similar
19 lawsuit was filed against PRA by hourly employees in Tennessee (namely, Jones v. Portfolio

20 Recovery Associates, LLC, Civil Action No. 1:20-CV-01083 (WDTN) (the “Tennessee Action”), to

21 which Butler and 11 other Butler opt-ins also joined before opting into this present suit. See Motion

22 to Sever and Transfer, II.B., pp. 3-7. The Tennessee Action, the first filed of these three cases, was

23 transferred from the WDTN to the EDVA pursuant to a stipulation amongst the parties thereto, and

24 thereafter, was consolidated with the Virginia Action. See Tennessee Action, ECF 58, Joint Notice

25 of Stipulation to Transfer to Eastern District of Virginia, dated June 24, 2020; Tennessee Action,

26 ECF 59, Order Transferring Case, dated June 29, 2020 (“… §1404(a)’s interest of justice by
27 eliminating duplicative litigation and the risk of inconsistent results.”); and Virginia Action, ECF

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 1 33 (order consolidating Tennessee Action with the Virginia Action).

 2         On July 10, 2020, counsel for Butler notified counsel for Defendant that Plaintiffs would no

 3 longer oppose the Motion to Sever and Transfer. Accordingly, Defendant’s Motion to Sever and

 4 Transfer is now unopposed. Upon entry of this Order, the Parties will seek to consolidate the hourly

 5 Wage and Hour Claims of this case with the Virginia Action.

 6         Accordingly, the Parties stipulate as follows:

 7                                       II.        STIPULATIONS
 8         IT IS HEREBY STIPULATED, by and between the Parties to this action, that all of the

 9 Wage and Hour Claims that Butler asserts, individually and on a nationwide collective action basis

10 on behalf of hourly workers, for violations of the FLSA and Nevada state wage and hour laws shall

11 be severed from the remaining claims in this case. These Causes of Action to be severed are as

12 follows: 29 USC 201 et. seq. (FLSA claims for hourly employees); NRS 608.016 (unpaid wages

13 and compensation claims for hourly employees); and NRS 608.018 (unpaid overtime claims for

14 hourly employees).

15         IT IS FURTHER STIPULATED, by and between the Parties to this action, that the

16 remaining claims to remain before this Court will be the WARN Act Claims asserted on behalf of

17 all Nevada employees who were terminated related to the March 2020 shut-down of PRA’s Las

18 Vegas Regional Office (“LVRO”), along with state wage and hour claims asserted by salaried
19 employees related to the LVRO facility closure, as follows: 29 USC 2101 et seq. (WARN ACT);

20 and NRS 608.016 (compensation earned and unpaid at the time of discharge for salaried employees).

21         IT IS FURTHER STIPULATED, by and between the Parties to this action, by and through

22 their undersigned counsel, that the severed hourly Wage and Hour Claims be transferred to the

23 EDVA, where the Parties will move for the hourly Wage and Hour Claims to be consolidated with

24 the Virginia Action (Scott v. Portfolio Recovery Associates, LLC, Civil Action No. 2:20-CV-00267).

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                                  July 31, 2020
